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AO 245B-CAED(Rev. 09/2011) Sheet 1 - Amended Judgment in a Criminal Case        (NOTE: Identify Changes with Asterisks*)



                              UNITED STATES DISTRICT COURT
                                                   Eastern District of California
              UNITED STATES OF AMERICA                                        FIRST AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                              (For Offenses Committed On or After November 1, 1987)
                         v.
             CANDACE SHANTEL GONZALES                                         Case Number: 1:12CR00213-006
                                                                              Defendant's Attorney: David A. Torres, Retained
 Date of Original Judgment:              May 09, 2016
 (Or Date of Last Amended Judgment)

Reason for Amendment:
    Correction of Sentence on Remand (Fed R. Crim. P. 35(a))                    Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
                                                                                Modification of Imposed Term of Imprisonment for Extraordinary and
    Reduction of Sentence for Changed Circumstances (Fed R. Crim. P. 35(b))
                                                                                Compelling Reasons (18 U.S.C. § 3582(c)(1))
                                                                                Modification of Imposed Term of Imprisonment for Retroactive Amendment
    Correction of Sentence by Sentencing Court (Fed R. Crim. P. 35(c))
                                                                                (s) to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
    Correction of Sentence for Clerical Mistake (Fed R. Crim. P. 36)            Direct Motion to District Court Pursuant to    28 U.S.C. §2255,
                                                                                    18 U.S.C. §3559(c)(7),      Modification of Restitution Order
THE DEFENDANT:
     pleaded guilty to Count One of the Indictment.
     pleaded nolo contendere to count(s)      which was accepted by the court.
     was found guilty on count(s)     after a plea of not guilty.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense (s):
                                                                                                                      Date Offense            Count
Title & Section                          Nature Of Offense
                                                                                                                      Concluded               Number
                                                                                                                      January 2007
18 U. S. C. § 1349                       Conspiracy to Commit Bank Fraud, Mail Fraud, and Wire Fraud                                          One
                                                                                                                      through 2010

       The defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

     The defendant has been found not guilty on count(s)      and is discharged as to such count(s).
     Counts 4-11, 12-16, and 17-22 are dismissed on the motion of the United States.
     Indictment is to be dismissed by District Court on motion of the United States.
     Appeal rights given.                              Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution or fine, the defendant must notify the court and United States Attorney of material changes in
economic circumstances.
                                                                              5/9/2016
                                                                              Date of Imposition of Judgment
                                                                              /s/ Anthony W. Ishii
                                                                              Signature of Judicial Officer
                                                                              Anthony W. Ishii, United States District Judge
                                                                              Name & Title of Judicial Officer
                                                                              10/27/2016
                                                                              Date
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AO 245B-CAED(Rev. 09/2011) Sheet 2 - Imprisonment
DEFENDANT:CANDACE SHANTEL GONZALES                                                                                              Page 2 of 9
CASE NUMBER:1:12CR00213-006

                                                          IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
24 months.

      No TSR: Defendant shall cooperate in the collection of DNA.

      The court makes the following recommendations to the Bureau of Prisons:
      The Court recommends that the defendant be incarcerated in a California facility, specifically BAKERSFIELD, CA but only
      insofar as this accords with security classification and space availability.

      The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district
              at     on     .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before 2:00 PM on 9/1/2016 .
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Officer.
       If no such institution has been designated, to the United States Marshal for this district.

                                                                RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                       to
at                                                  , with a certified copy of this judgment.



                                                                       United States Marshal


                                                                       By Deputy United States Marshal
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AO 245B-CAED(Rev. 09/2011) Sheet 3 - Supervised Release
DEFENDANT:CANDACE SHANTEL GONZALES                                                                                               Page 3 of 9
CASE NUMBER:1:12CR00213-006

                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
60 months.

The defendant must report to the probation office in the district to which the defendant is released within seventy-two hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two (2) periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
      substance abuse.

      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

      The defendant shall cooperate in the collection of DNA as directed by the probation officer.

      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
      seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
      she resides, works, is a student, or was convicted of qualifying offense.

      The defendant shall participate in an approved program for domestic violence.

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                       STANDARD CONDITIONS OF SUPERVISION
1.       The defendant shall not leave the judicial district without permission of the court or probation officer;
2.       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3.       the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4.       the defendant shall support his or her dependents and meet other family responsibilities;
5.       the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
         other acceptable reasons;
6.       the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7.       the defendant shall refrain from excessive use of alcohol;
8.       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9.       the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
         convicted of a felony unless granted permission to do so by the probation officer;
10.      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit
         confiscation of any contraband observed in plain view by the probation officer;
11.      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcement officer;
12.      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
         the permission of the court;
13.      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
         criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
         confirm the defendant’s compliance with such notification requirement.
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AO 245B-CAED(Rev. 09/2011) Sheet 3 - Supervised Release
DEFENDANT:CANDACE SHANTEL GONZALES                                                                                                Page 4 of 9
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                                         SPECIAL CONDITIONS OF SUPERVISION
1.       The defendant shall submit to the search of her person, property, home, and vehicle by a United States probation officer, or
         any other authorized person under the immediate and personal supervision of the probation officer, based upon reasonable
         suspicion, without a search warrant. Failure to submit to a search may be grounds for revocation. The defendant shall warn
         any other residents that the premises may be subject to searches pursuant to this condition.
2.       The defendant shall not dispose of or otherwise dissipate any of her assets until the fine and/or restitution ordered by this
         Judgment is paid in full, unless the defendant obtains approval of the Court or the probation officer.
3.       The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance, judgments and any
         anticipated or unexpected financial gains to any unpaid restitution ordered by this Judgment.
4.       The defendant shall provide the probation officer with access to any requested financial information.
5.       The defendant shall not open additional lines of credit without the approval of the probation officer.
6.       The defendant shall not seek or obtain employment in a fiduciary capacity or be selfemployed without the approval of the
         probation officer.
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AO 245B-CAED(Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
DEFENDANT:CANDACE SHANTEL GONZALES                                                                                              Page 5 of 9
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                                              CRIMINAL MONETARY PENALTIES

        The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                   Assessment                       Fine                        Restitution
         TOTALS                                     $100.00                        $Waived                     $3,533,822.58
      The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

Name of Payee                                                Total Loss*      Restitution Ordered Priority or Percentage
FHLMC (Freddie Mac)
Attn: Dominic Ducanes
                                                                    $0.00              $280,848.79
8200 Jones Branch Drive, MS 202
McLean, VA 22102
Chase Home Finance LLC
Restitution Payments
Mail Code IN1-4054                                                  $0.00                $2,960.33
7610 West Washington Street
Indianapolis, Indiana 46231
FHLMC (Freddie Mac)
Attn: Dominic Ducanes
                                                                    $0.00              $249,886.92
8200 Jones Branch Drive, MS 202
McLean, VA 22102
Chase Home Finance LLC
Restitution Payments
Mail Code IN1-4054                                                  $0.00                  $219.45
7610 West Washington Street
Indianapolis, Indiana 46231
Wells Fargo Bank
Restitution Payments
                                                                    $0.00              $250,858.20
1 Home Campus
Des Moines, IA 50328
Wells Fargo Bank
Restitution Payments
                                                                    $0.00              $344,071.04
1 Home Campus
Des Moines, IA 50328
Wells Fargo Bank
Restitution Payments
                                                                    $0.00              $296,487.55
1 Home Campus
Des Moines, IA 50328
FDIC
PO Box 971774
Dallas, TX 75397-1774
Include the following to insure proper credit:                      $0.00              $271,171.00
Defendant’s name
Case number: 12-CR-00213
Amtrust Bank, FIN 10155
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AO 245B-CAED(Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
DEFENDANT:CANDACE SHANTEL GONZALES                                                                                                Page 6 of 9
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Wells Fargo Bank
Restitution Payments
                                                                    $0.00                   $326,406.02
1 Home Campus
Des Moines, IA 50328
Wells Fargo Bank
Restitution Payments
                                                                    $0.00                   $288,968.39
1 Home Campus
Des Moines, IA 50328
Fannie Mae
Attn: Accounts Receivable
14221 Dallas Parkway, Ste. 100
Dallas, TX 75254                                                    $0.00                   $136,685.31
Include the following to insure proper credit:
Defendant’s name
Referral number: LE15-000016
Wells Fargo Bank
Restitution Payments
                                                                    $0.00                   $337,186.76
1 Home Campus
Des Moines, IA 50328
Bank of America
Attn: Donna McLauchlin
NC4-105-02-11 (Cash Remittance – Fraud)                             $0.00                   $298,733.25
4161 Piedmont Parkway
Greensboro, NC 27410
Wells Fargo Bank
Restitution Payments
                                                                    $0.00                   $192,489.57
1 Home Campus
Des Moines, IA 50328
FDIC
PO Box 971774
Dallas, TX 75397-1774
Include the following to insure proper credit:                      $0.00                   $256,850.00
Defendant’s name
Case number: 12-CR-00213
Amtrust Bank, FIN 10155
Totals                                                      $____                      $3,533,822.58
      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalities for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             The interest requirement is waived for the             fine      restitution

             The interest requirement for the            fine       restitution is modified as follows:


      If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
      through the Bureau of Prisons Inmate Financial Responsibility Program.

      If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
      shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
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AO 245B-CAED(Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
DEFENDANT:CANDACE SHANTEL GONZALES                                                                                        Page 7 of 9
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*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED(Rev. 09/2011) Sheet 6 - Schedule of Payments
DEFENDANT:CANDACE SHANTEL GONZALES                                                                                            Page 8 of 9
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                                                     SCHEDULE OF PAYMENTS
        Payment of the total fine and other criminal monetary penalties shall be due as follows:

A.               Lump sum payment of $             due immediately, balance due
                       Not later than      , or
                       in accordance          C,       D,      E,or       F below; or
B.               Payment to begin immediately (may be combined with               C,    D,    or   F below); or

C.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of    (e.g. months or
                 years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

D.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $     over a period of     (e.g. months or
                 years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

E.               Payment during the term of supervised release/probation will commence within      (e.g. 30 or 60 days) after release
                 from imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at
                 that time; or

F.               Special instructions regarding the payment of crimimal monetary penalties:

                     Payments must be made by Check or Money Order, payable to: Clerk, U.S.D.C. and mailed to:
                        CLERK U.S.D.C.
                        2500 Tulare Street, Rm 1501
                        Fresno, CA 93721
                 Your check or money order must indicate your name and citation/case number shown above to ensure your account
                 is credited for payment received.
                 Restitution as stated in Attachment A shall be due during the period of imprisonment, at the rate of not less than $25
                 per quarter, and pursuant to the Bureau of Prisons’ Inmate Financial Responsibility Program. If any amount of
                 restitution remains unpaid after release from custody, the United States Probation Officer assigned to defendant
                 Candace Shantel Gonzales shall set a schedule ordering payments depending on the defendant’s monthly income, but
                 not less than $50.00 per month, during the period of supervised release, such payments to begin 120 days after the
                 commencement of supervision. The interest is waived.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

         Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate:
Candace Shantel Gonzales 1:12-cr-00213-AWI-BAM-6 Joint and Several
Eliseo Jara 1:12-cr-00213-AWI-BAM-1 Joint and Several
Sergio Jara 1:12-cr-00213-AWI-BAM-2 Joint and Several
Antonio Perez Marcial 1:12-cr-00213-AWI-BAM-3 Joint and Several
Lucia Chavez 1:12-cr-00213-AWI-BAM-4 Joint and Several
Arlene Mojardin 1:12-cr-00213-AWI-BAM-5 Joint and Several
Joseph Chavez 1:12-cr-00213-AWI-BAM-7 Joint and Several
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AO 245B-CAED(Rev. 09/2011) Sheet 6 - Schedule of Payments
DEFENDANT:CANDACE SHANTEL GONZALES                                                                                                  Page 9 of 9
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         The defendant shall pay the cost of prosecution.

         The defendant shall pay the following court cost(s):

         The defendant shall forfeit the defendant's interest in the following property to the United States:
         The preliminary order of forfeiture filed, 5/9/2016, is hereby made final as to this defendant and shall be incorporated into the
         judgment.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
